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 1   Theya Kanagaratnam
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 2   Oakland, CA 94606
     510-356-5776
 3   theyak101@yahoo.com
     Pro Se Plaintiff
 4
 5
                           IN THE UNITED STATES DISTRICT COURT
 6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 7
      Theya Kanagaratnam,                             Case No. 3:23-cv-02637-JD
 8
                              Plaintiff,
 9                                                    NOTICE OF FORENSIC
                   vs.
10                                                    AUDIT
      CENLAR FSB,
11                                                    Judge: Hon. James Donato
                              Defendant.
12
13
14
     TO ALL PARTIES HEREIN AND THEIR COUNSEL OF RECORD:
15
        Having Detected Additional Problems with the Contract, the NOTE and Accounting, Plaintiff
16
17   has re-opened the Administrative Process and launched a Forensic Audit Per Exhibit A attached

18   below. Plaintiff, hereby, requests additional time in accordance with appropriate laws in order to

19   provide sufficient time for the other party to resolve all the issues raised in the attached Forensic
20   Audit Notice and to complete the process.
21
22
23
            November 14, 2023
     Dated: _______________                                  Signed: _________________________
24
                                                                      Theya Kanagaratnam
25                                                                    Pro Se Plaintiff

26
                                                     -1-
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              EXHIBIT A
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